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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 08-MD-01916-KAM


    IN RE:
    CHIQUITA BRANDS INTERNATIONAL, INC.
    ALIEN TORT STATUTE AND
    SHAREHOLDER DERIVATIVE LITIGATION

    _____________________________________________/

           REPORT AND RECOMMENDATION REGARDING MOTION TO
           ADJUDICATE AND ENFORCE CHARGING LIEN (ECF No. 3884)

           Conrad & Scherer, LLP, (C&S) represented Jane/John Does 1-144 (the “Doe

    Plaintiffs”) at earlier stages of this case. It now asks the Court to adjudicate and

    enforce a charging lien against the Doe Plaintiffs. ECF No. 3884. Judge Marra

    referred the motion to me for a Report and Recommendation on (1) whether the

    charging lien is enforceable and (2) if so, what amount of fees and costs are due? ECF

    No. 3890. I have reviewed the Motion, the Response from the Doe Plaintiffs, and

    C&S’s Reply. ECF Nos. 3885, 3887. For the following reasons, it is recommended that

    the charging lien be enforced in the amount of $229,755.42.


                              I.    PROCEDURAL HISTORY


           In 2007, attorneys Paul Wolf, Terry Collingsworth, and Bob Childs were

    retained to represent the Doe Plaintiffs against Chiquita Brands International. See,

    e.g. ECF No. 3884-1 (retainer agreement). The clients agreed to pay a contingent fee

    of either 33% or 40% of any damages award (depending on whether the case went to

    trial). Id.
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          On June 7, 2007, a lawsuit was filed in the District of Colombia on behalf of

    the Doe Plaintiffs against Chiquita Brands International, Inc., under case number

    07-1048 (the “DC Case”). ECF No. 2-1 in Case No. 08-80465 at 3. The Complaint was

    signed by Mr. Collingsworth and Mr. Wolf. Id. at 57. The Judicial Panel on

    Multidistrict Litigation consolidated that case with others before Judge Marra. ECF

    No. 2. As part of the transfer, the DC Case was assigned SDFL case number 08-80465.

    ECF No. 2 in 08-80465.

          The JPML consolidation order included a separate lawsuit that had been filed

    in this District on June 13, 2007 as Carrizosa, et. al. v. Chiquita Brands Int’l, case no.

    07-60821. ECF Nos. 1, 2. William Wichmann from C&S had signed the complaint in

    that case.

          In early 2008, Mr. Collingsworth joined C&S.

          In April 2008, Mr. Wolf sent Mr. Collingsworth a letter saying that, by joining

    C&S, Mr. Collingsworth had breached a September 2007 written agreement with

    Mr. Wolf to “work as equal partners on all Colombian fruit cases for the next ten

    years. This agreement doesn’t transfer to Conrad & Scherer.” ECF No. 3885-2 at 2.

           In August 2008, Mr. Collingsworth filed a Notice of Change of Firm Affiliation

    and Address saying that he was now affiliated with C&S. ECF No. 118.

    Mr. Collingsworth and Mr. Wolf both asked Judge Marra to appoint them as Lead

    Counsel in Case No. 08-80465 (“the DC case”). ECF No. 130. Mr. Wolf and

    Mr. Collingsworth ultimately stipulated that Mr. Collingsworth would be Lead



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    Counsel. ECF No. 144. On September 19, 2008, Judge Marra designated Mr.

    Collingsworth as Lead Counsel in the DC case. ECF No. 147.

          On August 2, 2011, William Scherer, III, from C&S, entered an appearance on

    behalf of The Doe Plaintiffs and 95 other Perez plaintiffs in case number 08-80465.

    ECF No. 462. In June 2012, Eric Hager from C&S entered an appearance in case

    number 08-80465 on behalf of The Doe Plaintiffs and the Perez plaintiffs. ECF Nos.

    545, 546. On April 22, 2015, William Scherer, Jr., and Albert Frevola from C&S

    entered appearances in case number 08-80465 on behalf of The Doe Plaintiffs, 795

    Perez plaintiffs, and “Carmen Tulia, Cordoba Cuesta, et. al.” ECF Nos. 761, 762.

          In late 2015, Mr. Collingsworth left C&S to work for International Rights

    Advocates. On December 18, 2015, C&S moved to withdraw and to substitute

    International Rights Advocates as counsel for the Doe Plaintiffs. ECF No. 965. Judge

    Marra denied the motion without prejudice because the clients had not been

    adequately notified. ECF No. 989. Several months later, C&S renewed the motion to

    withdraw. ECF No. 1011. The motion noted that Mr. Collingsworth would continue

    to represent the Doe Plaintiffs, but that Mr. Scherer and Mr. Hager would not. Id.

    Judge Marra once again denied the motion without prejudice, noting that C&S

    “remains in place as counsel of record for the Doe Plaintiffs, notwithstanding Mr.

    Collingsworth’s intervening departure from the firm . . . Unless and until the Court

    grants Conrad Scherer permission to withdraw as counsel of record for all Plaintiffs,

    Conrad Scherer is charged with the obligation to continue representation of the entire

    plaintiff pool, including the Doe Plaintiffs.” ECF No. 1201 n.1.
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           In March 2019, Mr. Wolf moved to disqualify Mr. Collingsworth from

    representing the Doe Plaintiffs. ECF No. 2373. On April 28, 2020, Judge Marra

    discharged Mr. Collingworth and C&S from further representing the Doe Plaintiffs

    subject to several conditions, including:

           Attorney Collingsworth’s request for a $8,000.00 reimbursement of costs
           extended to Attorney Wolf in connection with the representation of the
           Doe Plaintiffs as a condition to the realignment of counsel is DENIED
           WITHOUT PREJUDICE for Attorney Collingsworth to file a notice of
           charging lien in this matter in order to preserve any entitlement to such
           costs claimed by him. Attorney Collingsworth and the law firm of
           Conrad & Scherer’s quantum meruit claim for services rendered in
           connection with the representation of the Doe Plaintiffs is likewise
           DENIED WITHOUT PREJUDICE for either to file a notice of charging
           lien in effort to preserve any claimed entitlement to such fees. The
           Court shall reserve ruling on any charging liens filed in the case until
           the conclusion of the litigation.

    ECF No. 2658 at 2-3. Mr. Wolf remained exclusive attorney of record for the Doe

    Plaintiffs. Id.

           Less than five months later, on September 9, 2019, C&S filed a Notice of

    Charging Lien as to the Doe Plaintiffs. ECF No. 2687. C&S asserted a lien for

    $238,566 in fees and $7,206.78 in costs, expenses, and disbursements. Id.

           On June 21, 2024, the Doe Plaintiffs informed the Court that they had settled

    their claims against Chiquita. ECF No. 3834. The settlement resolved claims by all

    plaintiffs represented by Mr. Wolf, including non-Doe Plaintiffs. Judge Marra

    approved the settlement on June 28, 2024. ECF No. 3847. One condition of approving

    the settlement was that the third-party claims administrator “hold in escrow the last




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    payment of 25% of attorneys’ fees to satisfy the amount of any charging lien the Court

    finds to be valid.” Id. at 2.

           On August 27, 2024, C&S filed its Motion to Adjudicate and Enforce Charging

    Lien. ECF No. 3884. It now seeks a total of $246,610.92 comprising $241,855.50 in

    fees and $4,755.42 in nontaxable costs. Id. ¶11.


                                    II.   LEGAL PRINCIPLES


           A. Charging Lien

           A charging lien is “a mechanism by which an attorney may enforce her

    equitable right to have costs and fees owed for legal services secured by the judgment

    or recovery in a lawsuit.” Bruton v. Carnival Corp., 916 F. Supp. 2d 1262, 1268 (S.D.

    Fla. 2012) citing Sinclair, Louis, Siegel, Heath, Nussbaum & Zavertnik, P.A. v.

    Baucom, 428 So. 2d 1383, 1384 (Fla. 1983); Flynn v. Sarasota County Pub. Hosp. Bd.,

    169 F. Supp. 2d 1363, 1368 (M.D. Fla. 2001).

           To impose a charging lien, a court in equity must find: (1) an express or
           implied contract between the attorney and client; (2) an express or
           implied understanding that payment is either contingent upon recovery
           or will be paid from the recovery; (3) an attempt by the client to avoid
           paying or a dispute as to the amount of the fee; and, most relevant here,
           (4) a timely notice of a request for a lien.

    Bruton, 916 F. Supp. at 1268 (citations omitted).

           “An attorney discharged without cause after performing substantial legal

    services under a valid [contingency fee] contract of employment . . . is entitled to the

    reasonable value of the services rendered on the basis of quantum meruit.” Rosenberg


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    v. Levin, 409 So. 2d 1016, 1017 (Fla. 1982) cited in Searcy, Denney, Scarola, Barnhart

    & Shipley, P.A. v. Poletz, 652 So. 2d 366, 368 (Fla. 1995). The discharged attorney’s

    right to fees accrues “upon the successful occurrence of the contingency.” Id. at 1022.

          B. Quantum Meruit

          To state a quantum meruit claim, the lawyer must prove that it “provided, and

    [the client] assented to and received, a benefit in the form of goods or services under

    circumstances where, in the ordinary course of common events, a reasonable person

    receiving such a benefit normally would expect to pay for it.” Babineau v. Fed. Express

    Corp., 576 F.3d 1183, 1194 (11th Cir. 2009) (quoting W.R. Townsend Contracting, Inc.

    v. Jensen Civil Const., Inc., 728 So. 2d 297, 305 (Fla. Dist. Ct. App. 1999)). Under

    Florida law, a valid contract arises when the parties’ assent is manifested through

    written or spoken words, or “inferred in whole or in part from the parties’ conduct.”

    Commerce P’ship v. Equity Contracting Co., 695 So. 2d 383, 385 (Fla. Dist. Ct. App.

    1997). “A contract based on the parties’ words is characterized as express, whereas,

    a contract based on the parties’ conduct is said to be implied in fact.” Baron v. Osman,

    39 So. 3d 449, 451 (Fla. Dist. Ct. App. 2010).

          “Unlike an award of attorney's fees to a prevailing party, a quantum meruit

    award must take into account the actual value of the services to the client. Thus,

    while the time reasonably devoted to the representation and a reasonable hourly rate

    are factors to be considered in determining a proper quantum meruit award, the court

    must consider all relevant factors surrounding the professional relationship to ensure

    that the award is fair to both the attorney and client.” Searcy, 652 So.2d at 369.
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    Among the non-exclusive factors the Court can consider are: “the fee agreement itself,

    the reason the attorney was discharged, actions taken by the attorney or client before

    or after discharge, and the benefit actually conferred on the client.” Id.

          C. Local Rule 7.3

          The Local Rules of this Court require a conferral process before the filing of a

    formal motion for fees and costs. “A motion for an award of attorneys’ fees and/or non-

    taxable expenses and costs arising from the entry of a final judgment or order shall

    not be filed until a good faith effort to resolve the motion, as described in paragraph

    [7.3](b) below, has been completed.” S.D. Fla. Local Rule 7.3(a). The movant must

    serve a copy of the proposed motion along with supporting documentation. Id. The

    parties are then required to “confer and attempt in good faith to agree on entitlement

    to and the amount of fees and expenses not taxable under 28 U.S.C. §1920.” As part

    of that conferral process, “[t]he respondent shall describe in writing and with

    reasonable particularity each time entry or nontaxable expense to which it objects,

    both as to issues of entitlement and as to amount, and shall provide supporting legal

    authority.” S.D. Fla. Local Rule 7.3(b).

          If a responding party fails to comply with Local Rule 7.3, the Court has the

    discretion to find that the party has waived any objection to the movant’s entitlement.

    Club Madonna, Inc. v. City of Miami Beach, No. 13-23762-CIV, 2015 WL 5559894, at

    *9 (S.D. Fla. Sept. 22, 2015); Maale v. Kirchgessner, No. 08-80131-CIV, 2011 WL

    1549058, at *5 (S.D. Fla. Apr. 22, 2011) (Court has discretion to determine remedy

    for non-compliance with Local Rule 7.3). Even where a party has failed to comply with
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    Local Rule 7.3, the Court must independently assess the reasonableness of any claim

    for fees. See Godoy v. New River Pizza, Inc., 565 F. Supp. 2d 1345, 1347 (S.D. Fla.

    2008).


                           III.   SUBJECT MATTER JURISDICTION


             I first sua sponte clarify a jurisdictional issue. The opposition to the charging

    lien was filed in the name of the Doe Plaintiffs by attorney Paul Wolf. ECF No. 3885.

    Mr. Wolf has not intervened as a party for purposes of the charging lien litigation. It

    is clear, however, that Mr. Wolf, not the Doe Plaintiffs, is the real party-in-interest

    in the charging lien dispute. See, e.g., ECF No. 3885 n.3 (“This isn’t something I

    should have to pay for.”). Under the settlement agreement already approved by the

    Court, $4,224,000 of the plaintiffs’ recovery has been set aside for the payment of

    contingency attorneys’ fees to Mr. Wolf.1 A third party claims administrator is holding

    25% of that money (approximately $1,056,000) in escrow to satisfy any amounts

    awarded under attorney charging liens, including C&S’s lien.

             The Doe Plaintiffs have no legal right to the money claimed in C&S’s charging

    lien. That money either goes to Mr. Wolf or to C&S. So, the Doe Plaintiffs will not

    suffer any injury-in-fact if that money is awarded to C&S. Therefore, it appears the

    Doe Plaintiffs lack Article III standing to challenge the charging lien. See Spokeo v.

    Robins, 578 U.S. 330, 339-40 (2016). Even though the Doe Plaintiffs lack


    1 It is not clear whether the escrowed funds are only funds from settlement amounts

    owed to the Doe Plaintiffs or include funds that were awarded to non-Doe Plaintiffs.
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    constitutional standing, the Court can exercise supplemental subject matter

    jurisdiction over this charging lien dispute between two attorneys who have both been

    counsel of record. See Hogben v. Wyndham Int'l, Inc., No. 05-20944-CIV-TORRES,

    2007 WL 2225970, at *5 (S.D. Fla. Aug. 1, 2007).


                               IV.    PARTIES’ ARGUMENTS


          C&S says (1) its lien was timely, (2) it had express contracts with the Doe

    Plaintiffs, (3) alternatively, it had implied contracts with the Doe Plaintiffs, (4) the

    contracts contemplated that C&S would be paid a contingent fee out of any recovery.

    ECF No. 3884.

          C&S also makes two procedural arguments. First, it says the Doe Plaintiffs

    waived any objection by refusing to comply with Local Rule 7.3. ECF No. 3884 at 3-

    6. Second, C&S says the Doe Plaintiffs are estopped from arguing that C&S did not

    represent them.

          Mr. Wolf disputes C&S’s entitlement to fees. He says (1) there was no express

    or implied contract with C&S, (2) there was no recovery in the cases in which C&S

    provided legal services, (3) any recovery by C&S should be limited only to the cases

    in which it participated, not to the total settlement for all clients, (4) C&S cannot

    recover because it has unclean hands. ECF No. 3885.2




    2 Mr. Wolf does not dispute the timeliness of the charging lien.

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                                     V.    DISCUSSION


          A. Entitlement

          C&S argues that Mr. Wolf’s failure to comply with Local Rule 7.3 waives any

    objection to entitlement or amount of fees. ECF No. 3887 at 2-4. I agree that it waives

    any objection to entitlement. Nevertheless, the Court still must determine if the

    requested amount is reasonable.

          It is undisputed that C&S complied with Local Rule 7.3(a) by emailing

    Mr. Wolf a copy of its Motion to Enforce along with its billing records on June 29,

    2024. ECF No. 3884-3. Mr. Wolf declined to confer. ECF No. 3884-4. Mr. Wolf told

    C&S, “I’ve reviewed your motion and bill of costs and oppose the motion. You’ve

    fulfilled your duty to confer. I don’t want to sit through a zoom meeting.” Id. He did

    not, as required by the Local Rules, “describe in writing and with reasonable

    particularity each time entry or nontaxable [to which he objected, nor did he] provide

    supporting legal authority.” S.D. Fla. Local Rule 7.3(a).

          Mr. Wolf does not dispute his non-compliance with Local Rule 7.3. His

    apparent explanation (buried in a footnote to his Response brief) is that (1) he did not

    read the Local Rules and (2) the bulk of C&S’s hours were incurred after

    Mr. Collingsworth left the firm. ECF No. 3885 at 7 n.3. “[S]ubstantive arguments

    cannot be raised in passing in a footnote.” Pinson v. JPMorgan Chase Bank, Nat'l

    Ass'n, 942 F.3d 1200, 1209 n.5 (11th Cir. 2019).




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          Under these circumstances, I recommend that the Court exercise its discretion

    to find that Mr. Wolf has waived any objection to C&S’s entitlement to fees. As then-

    Magistrate Judge Becerra has explained in a similar context:

          Courts in this District have made clear that “Local Rule 7.3's
          requirements are not optional, but mandatory” and recognize that “[a]
          failure to comply with Local Rule 7.3—in a variety of ways—has
          consistently led to the denial of a movant's motion for attorneys’ fees.”
          Irish v. Reynolds, No. 13-cv-10063, 2018 WL 1863765, at *3 (S.D. Fla.
          Jan. 9, 2018) (collecting cases), report and recommendation adopted, No.
          13-cv-10063, 2018 WL 1863747 at *1 (S.D. Fla. Feb. 9, 2018). Defendant
          offers no reason why it could not engage in the conferral process
          mandated by Local Rule 7.3. Its only response is that defense counsel's
          secretary failed to calendar the deadline to file a motion for attorneys’
          fees, and Plaintiff will not be prejudiced if attorneys’ fees are awarded.
          ECF No. [152] at 2-3. These arguments miss the mark.

          ...

          “[T]here is no exception in the Local Rules for futility; the parties shall
          make a good faith effort to resolve the motion; the movant must serve a
          draft motion; and the parties shall confer twenty-one days after service
          of the motion.” Norych v. Admiral Ins. Co., No. 08-cv-60330, 2010 WL
          2557502, at * 2 (S.D. Fla. June 23, 2010).

    Tejeda v. Costco Wholesale Corp., No. 20-CV-24790, 2023 WL 6278799, at *3 (S.D.

    Fla. July 24, 2023), report and recommendation adopted, No. 20-24790-CIV, 2023 WL

    6245688 (S.D. Fla. Sept. 26, 2023) (brackets in original).

          In the alternative, C&S has shown on the merits that it is entitled to enforce

    its charging lien.

          There was a sufficient legal relationship between C&S and the Doe Plaintiffs

    to entitle C&S to a quantum meruit recovery. Attorney retainer agreements are

    interpreted like any other contract. See, e.g., Muentes v. Bruce S. Rosenwater &


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    Assocs., P.A., 354 So. 3d 554, 556 (Fla. Dist. Ct. App. 2023). So, the Court must enforce

    the unambiguous terms of the agreement.

          Here, the retainer agreement said:

              •   Paul Wolf, Terry Collingsworth, and Bob Childs were “The Attorneys”

              •   “The Client hereby retains The Attorneys as her attorneys to commence

                  a lawsuit [against Chiquita]”

              •   “The Client agrees that the Attorneys have exclusive authority to retain

                  additional attorneys to work with the Client to process the [Client’s

                  claims] and the Client has exclusive authority to terminate any prior

                  retained attorney. Any other agreement with any other attorney or

                  attorneys retained is between the Attorneys and those attorneys.”

    Notably, the fee agreement does not mention a law firm; it is between a client and

    three lawyers. So, each plaintiff retained three individual lawyers to represent

    him/her and formed three independent concurrent attorney-client relationships. The

    client was obligated to pay only the contingent fee and expenses. The lawyers were

    free to hire other lawyers to help them and (presumably) to split among themselves

    any attorneys’ fees that were ultimately recovered.

          Pursuant to this agreement, then, Mr. Collingsworth had the authority to

    retain C&S as co-counsel. Therefore, after Mr. Collingsworth joined C&S in early

    2008, there was a binding legal agreement between the client and C&S for C&S to

    provide legal services as authorized by Mr. Collingsworth. There was also an express

    expectation that C&S would be compensated for those services out of any recovery.
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          Separately, and regardless of the agreements between the individual plaintiffs

    and Mr. Collingsworth, C&S began representing all of the plaintiffs in September

    2008 pursuant to Judge Marra’s Order designating Mr. Collingsworth as Lead

    Counsel. ECF No. 147. That Order bound C&S to provide legal services and implicitly

    created a corresponding expectation of compensation. The appointment Order

    adopted a September 15, 2008, stipulation signed by Mr. Wolf agreeing that Mr.

    Collingsworth would be designated as lead counsel. At that point, the Court was

    aware that Mr. Collingsworth was affiliated with C&S. And, although the September

    16 Order only references Mr. Collingsworth, Judge Marra’s clear intent was to

    appoint C&S as a firm, not just Mr. Collingsworth as an individual. That intent is

    clear given that the Court continued to treat C&S as lead counsel for the Doe

    Plaintiffs even after Mr. Collingsworth left the firm.

          I reject the assertion in Mr. Wolf’s April 2008 letter that his work-sharing

    agreement with Mr. Collingsworth prevented C&S from representing the Doe

    Plaintiffs. That agreement does not control the attorney-client relationship between

    Mr. Collingsworth and the Doe Plaintiffs. Only the client or the attorney could

    terminate that relationship. So, Mr. Wolf had no power to terminate the clients’

    relationships with Mr. Collingsworth, regardless of whatever other arrangement he

    had with Mr. Collingsworth. There is no evidence in the record that any client

    declined to continue the attorney-client relationship with Mr. Collingsworth when he

    affiliated himself with C&S in 2008.



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            I also reject Mr. Wolf’s argument that C&S should only receive quantum

    meruit fees for the bellwether cases it litigated. C&S’s fee claim is for services

    rendered to all the Doe Plaintiffs, including but not limited to litigating bellwether

    cases. By Court Order, C&S acted as lead counsel for the Doe Plaintiffs from

    September 2008 until April 2020. The docket in Case No. 08-80465 reflects

    approximately 350 filings between those dates. C&S’s time sheets reflect substantial

    work that benefited all Doe Plaintiffs. As Mr. Wolf concedes, “In this case, Conrad &

    Scherer have listed 610 time entries. Almost all of them relate to work done generally

    on the MDL, when Wolf and Conrad & Sherer were on adversarial terms.” ECF No.

    3885 at 8; see also id. (“Most of the rest of the [C&S] work relates to general work

    litigating the MDL.”).

            Mr. Wolf next incorrectly argues that C&S cannot enforce its lien because it

    has unclean hands arising from allegedly bribing two witnesses. Mr. Wolf says this

    bribery “completely undermined the validity of the first bellwether trial.” ECF No.

    3885 at 12. C&S responds that this Court has already rejected these bribery

    allegations. ECF No. 3887 at 7 (citing ECF No. 3649 at 5).

            I need not resolve those allegations because Mr. Wolf has not shown that the

    unclean hands doctrine applies even if the allegations are true. And, even if that

    doctrine applied, Mr. Wolf has not shown that C&S’s fee claim should be rejected in

    full.

            “All proceedings in Florida to resolve an attorney’s charging lien for legal

    services are equitable in nature. Thus equitable defenses to an action in equity, such
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    as unclean hands or the adequacy of a remedy at law, may be asserted in a charging

    lien case.” State Contracting & Eng'g Corp. v. Condotte Am., Inc., No. 97-7014-CV,

    2004 WL 5500705, at *15 (S.D. Fla. Oct. 26, 2004) (citing Nichols v. Kroelinger, 46 So.

    2d 722 (Fla. 1950)). The doctrine of unclean hands prevents a wrongdoer from

    benefiting from its own bad behavior. Cong. Park Off. Condos II, LLC v. First-Citizens

    Bank & Tr. Co., 105 So. 3d 602, 609–10 (Fla. Dist. Ct. App. 2013):

          The conduct constituting unclean hands . . . must generally be connected
          with the matter in litigation and must affect the adverse party. A court
          of equity is not ‘an avenger of wrongs committed at large by those who
          resort to it for relief.’ The fact that a party’s conduct is disreputable is
          entirely irrelevant where the party asserting unclean hands is not the
          target of, and has taken no action in reliance on that conduct, however
          disdainful of that conduct a court may be. A party must prove that he
          was injured in order for the unclean hands doctrine to apply.

    McCollem v. Chidnese, 832 So. 2d 194, 196 (Fla. Dist. Ct. App. 2002) (citations

    omitted).

          Mr. Wolf, the real party-in-interest in this charging lien dispute, has not shown

    how the alleged bribery injured him. Therefore, the unclean hands doctrine does not

    bar C&S from enforcing its charging lien.

          B. Amount

          I have reviewed the fee affidavit of Carey Fisher, Esq. ECF No. 3884-2. I find

    it to be persuasive and well supported. In addition, I rely on my personal knowledge

    of the market rate for lawyers in Palm Beach County between 2008 and 2020.

    Norman v. Housing Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988) (“[t]he

    court ... is itself an expert on the question [of fees] and may consider its own


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    knowledge and experience concerning reasonable and proper fees.”). I find that all of

    the requested hourly rates are reasonable except for $950 per hour for William

    Scherer, Jr. and any paralegal rates of more than $150 per hour. See, e.g, Otto v. City

    of Boca Raton, Fla., No. 18-CV-80771-RLR, 2023 WL 9289098, at *16 (S.D. Fla. Nov.

    1, 2023) (discussing market rates), report and recommendation adopted, No. 18-CV-

    80771, 2024 WL 181554 (S.D. Fla. Jan. 17, 2024). The lodestar should be reduced

    accordingly.

          Almost all of the work expended, as reflected in C&S’s billing records, appears

    to have been reasonable and necessary to representing the Doe Plaintiffs. There are

    some duplicative billing entries, however.

          As noted above, the lodestar is only one factor the Court must consider in

    granting quantum meruit fees based on a contingency retainer. “[T]rial courts need

    not, and indeed should not, become green-eyeshade accountants. The essential goal

    [in awarding attorney’s fees] is to do rough justice, not to achieve auditing perfection.

    So trial courts may take into account their overall sense of a suit, and may use

    estimates in calculating and allocating an attorney’s time.” Fox v. Vice, 563 U.S. 826,

    838 (2011).

          Taking all of the relevant factors into account, I recommend that the District

    Court award C&S $225,000 in fees.

          All of C&S’s non-taxable expenses are properly documented. I recommend that

    the District Court award the full request of $4,755.42.



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                                   RECOMMENDATION

          Accordingly, this Court RECOMMENDS that the District Court grant in part

    the Motion to Adjudicate and Enforce Charging Lien (ECF No. 3884) and award

    Conrad & Scherer $225,000 in attorneys’ fees and $4,755.42 in non-taxable expenses.

                             NOTICE OF RIGHT TO OBJECT

          A party shall serve and file written objections, if any, to this Report and

    Recommendation with the Honorable Kenneth A. Marra, United States District

    Court Judge for the Southern District of Florida, within FOURTEEN (14) DAYS of

    being served with a copy of this Report and Recommendation. Failure to timely file

    objections shall constitute a waiver of a party's "right to challenge on appeal the

    district court’s order based on unobjected-to factual and legal conclusions." 11th Cir.

    R. 3-1 (2016).

          If counsel do not intend to file objections, they shall file a notice

    advising the District Court within FIVE DAYS of this Report and

    Recommendation.

          DONE and SUBMITTED in Chambers at West Palm Beach, Palm Beach

    County, in the Southern District of Florida, this 11th day of October 2024.




                                            __________________________________
                                            BRUCE E. REINHART
                                            UNITED STATES MAGISTRATE JUDGE



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